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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

LORRAINE WATSON,              )
                              )
         Plaintiff            )
                              )                        Civil Docket No.:
v.                            )
                              )
EASTERN MAINE MEDICAL CENTER, )
                              )
         Defendant            )

                        COMPLAINT AND DEMAND FOR JURY TRIAL

         NOW COMES the Plaintiff, Lorraine Watson, by and through her undersigned attorneys,

and complains against the Defendant as follows:

1.       Plaintiff is a resident of Millinocket, County of Penobscot, State of Maine.

2.       Upon information and belief, Defendant is a domestic non-profit corporation with a

         principal place of business in Bangor, County of Penobscot, State of Maine.

3.       Pursuant to F.R.Civ.P. 38(b), Plaintiff hereby demands trial by jury on all issues triable to

         a jury.

4.       This court has subject matter jurisdiction of this action under 28 U.S.C. § 1331 as this

         action arises under a law of the United States.

5.       Venue is proper in the District of Maine under 28 U.S.C. § 1391(b). Under Local Rule

         3(b), this action is properly filed in Bangor because this case arises in Penobscot County.

6.       On or about July 1, 2007, Plaintiff presented to the emergency department at Eastern

         Maine Medical Center for emergency treatment. Plaintiff was approximately sixteen

         weeks pregnant and was having contractions and other symptoms.



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7.       Defendant diagnosed fetal demise and sent Plaintiff home, failing and refusing to

         stabilize her condition by delivering the fetus and placenta, in violation of the Emergency

         Medical Treatment and Active Labor Act (EMTALA), 42 U.S.C. § 1395dd.

8.       As a direct and proximate result of Defendant’s conduct and violation of EMTALA,

         Plaintiff has suffered damages.

9.       Defendant’s deliberate conduct is so outrageous that malice may be implied.

         WHEREFORE, Plaintiff prays for judgment against Defendant for damages in such

amount as may be shown by the proof, for punitive damages, compensatory damages, attorneys'

fees, costs, interest, and such other and further relief as may be just and equitable in the premises.

June 19, 2008                                          /s/ Julie D. Farr
Date                                                   Arthur J. Greif, Esq.
                                                       Julie D. Farr, Esq.
                                                       GILBERT & GREIF, P.A.
                                                       82 Columbia Street
                                                       P.O. Box 2339
                                                       Bangor, Maine 04402-2339
                                                       Attorneys for Plaintiff




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